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Innovative Sports Management, Inc., d/b/a Integrated Sports Media

UNITED STATES DISTRICT COURT
FOR THE
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

INNOVATIVE SPORTS MANAGEMENT,
INC., D/B/A INTEGRATED SPORTS
MEDIA,

Plaintiff,

vs.

JORGE DAVID WONG, individ ually and
d/b/a MANCORA PERUVIAN CUISINE;
and MANCORA PERUVIAN CUISINE,
INC., an unknown business entity d/b/a
MAN CORA PERUVIAN CUISINE,

Defendants.

 

 

PLAINTIFF ALLEGES:

Case No.:

COMPLAINT

JURISDICTION

1. Jurisdiction is founded on the existence of a question arising under particular statutes.

This action is brought pursuant to several federal statutes, including the Communications Act of
1934, as amended, Title 47 U.S.C. 605, et seg., and The Cable & Television Consumer Protection
and Competition Act of 1992, as amended, Title 47 U.S. Section 553, et seq, and California B&P

Section 17200, a California state statute.

 
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2. This Court has jurisdiction of the subject matter of this action pursuant to 28 U.S.C.
Section 1331, which states that the District Courts shall original jurisdiction of all civil actions
arising under the Constitution, laws, or treaties, of the United States. This Court has subject matter

jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367 (supplemental jurisdiction).

a This Court has personal jurisdiction over the parties in this action as a result of the
Defendants’ wrongful acts hereinafter complained of which violated the Plaintiffs rights as the
exclusive commercial domestic distributor of the televised fight Program hereinafter set forth at
length. The Defendants’ wrongful acts consisted of the interception, reception, publication,
divulgence, display, exhibition, and tortious conversion of said property of Plaintiff within the
control of the Plaintiff in the State of California constituting an unfair business practice in violation

of the law, including specific California state statutes, more particularly set forth below.

VENUE
4. Pursuant to Title 47 U.S.C. Section 605, venue is proper in the Central District of

California, because a substantial part of the events or omissions giving rise to the claim occurred in
this District and/or because, inter alia, Defendants reside within the State of California (28 U.S. C.
§ 1391 (b) and 28 U.S.C. § 84(c)(2)).

INTRADISTRICT ASSIGNMENT

= Assignment to the Western Division of the Central District of California is proper
because a substantial part of the events or omissions giving rise to the claim occurred in Los
Angeles County and/or the United States District Court for the Central District of California has
decided that suits of this nature, and each of them, are to be heard by the Courts in this

particular Division.

THE PARTIES
6. Plaintiff, Innovative Sports Management, Inc., d/b/a Integrated Sports Media is, and at all
relevant times mentioned was, a New Jersey corporation with its principal place of business
located at 64 North Summit Street, Suite 218, Tenafly, NJ 07670.
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7% Defendant Jorge David Wong is an officer of Mancora Peruvian Cuisine, Inc., which owns
and operates the commercial establishment doing business as Mancora Peruvian Cuisine operating
at 240 West Main Street, Ste. A, Alhambra, California 91801.

8. Defendant Jorge David Wong is the individual specifically identified on the California
Alcoholic Beverage and Control license issued for Mancora Peruvian Cuisine (ABC #585066).

9. Plaintiff is informed and believes, and alleges thereon that on Friday, March 23, 2018 (the
night of the Program at issue herein, as more specifically defined in paragraph 16), Defendant
Jorge David Wong had the right and ability to supervise the activities of Mancora Peruvian
Cuisine, which included the unlawful interception of Plaintiff's Program.

10. _ Plaintiff is informed and believes, and alleges thereon that on Friday, March 23, 2018 (the
night of the Program at issue herein, as more specifically defined in paragraph 16), Defendant
Jorge David Wong, as an individual specifically identified as an officer of Mancora Peruvian
Cuisine, had the obligation to supervise the activities of Mancora Peruvian Cuisine, which
included the unlawful interception of Plaintiff's Program, and, among other responsibilities, had

the obligation to ensure that the liquor license was not used in violation of law.

1], Plaintiff is informed and believes, and alleges thereon that on Friday, March 23, 2018 (the
night of the Program at issue herein, as more specifically defined in paragraph 16), Defendant
Jorge David Wong specifically directed the employees of Mancora Peruvian Cuisine to unlawfully
intercept and broadcast Plaintiff's Program at Mancora Peruvian Cuisine or that the actions of the
employees of Mancora Peruvian Cuisine are directly imputable to Defendants Jorge David Wong

by virtue of his acknowledged responsibility for the actions of Mancora Peruvian Cuisine.

Le, Plaintiff is informed and believes, and alleges thereon that on Friday, March 23, 2018,
Defendant Jorge David Wong as an officer of Mancora Peruvian Cuisine, Inc. and as an individual
specifically identified on the liquor license for Mancora Peruvian Cuisine, had an obvious and
direct financial interest in the activities of Mancora Peruvian Cuisine, which included the unlawful
interception of Plaintiff's Program.

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13. Plaintiff is informed and believes, and alleges thereon that the unlawful broadcast of
Plaintiff's Program, as supervised and/or authorized by Defendant Jorge David Wong resulted in

increased profits for Mancora Peruvian Cuisine.

14. Plaintiff is informed and believed, and alleges thereon that Defendant, Mancora Peruvian
Cuisine, Inc., is an owner, and/or operator, and/or licensee, and/or permittee, and/or person in
charge, and/or an individual with dominion, control, oversight and management of the commercial
establishment doing business as Mancora Peruvian Cuisine operating at 240 West Main Street, Ste.
A, Alhambra, CA 91801.

COUNT I
(Violation of Title 47 U.S.C. Section 605)

1s. Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, hereby
incorporates by reference all of the allegations contained in paragraphs 1-14, inclusive, as though
set forth herein at length.

16. Pursuant to contract, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports
Media, was granted the exclusive nationwide commercial distribution (closed-circuit) rights to
Peru v. Croatia, International Friendly Soccer Game, telecast nationwide on Friday, March 23,
2018 (this included all interviews and game commentary encompassed in the television

broadcast of the event, hereinafter referred to as the "Program"),

17. Pursuant to contract, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports
Media, entered into subsequent sublicensing agreements with various commercial entities
throughout North America, including entities within the State of New Jersey, by which it granted
these entities limited sublicensing rights, specifically the rights to publicly exhibit the Program
within their respective commercial establishments in the hospitality industry (i.e., hotels,

racetracks, casinos, bars, taverns, restaurants, social clubs, etc.).

18. As a commercial distributor and licensor of sporting events, including the Program,
Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, expended substantial
monies marketing, advertising, promoting, administering, and transmitting the Program to its

customers, the aforementioned commercial entities.

 

 

 
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19. With full knowledge that the Program was not to be intercepted, received, published,
divulged, displayed, and/or exhibited by commercial entities unauthorized to do so, each and every
one of the above named Defendants, either through direct action or through actions of employees
or agents directly imputable to Defendants (as outlined in paragraphs 7-14 above), did unlawfully
intercept, receive, publish, divulge, display, and/or exhibit the Program at the time of its
transmission at his commercial establishment in Alhambra, California located at 240 West Main
Street, Ste. A, Alhambra, CA 91801,

20. Said unauthorized interception, reception, publication, exhibition, divulgence, display,
and/or exhibition by each of the Defendants was done willfully and for purposes of direct and/or

indirect commercial advantage and/or private financial gain.

21. Title 47 U.S.C. Section 605, et seq., prohibits the unauthorized publication or use of
communications (such as the transmission of the Program for which Plaintiff Innovative Sports
Management, Inc., d/b/a Integrated Sports Media, had the distribution rights thereto).

22. By reason of the aforesaid mentioned conduct, the aforementioned Defendants, and each of
them, violated Title 47 U.S.C. Section 605, ef seq.

23. By reason of the Defendants’ violation of Title 47 U.S.C. Section 605, et seq., Plaintiff
Innovative Sports Management, Inc., d/b/a Integrated Sports Media, has the private right of action
pursuant to Title 47 U.S.C. Section 605.

24. As the result of the aforementioned Defendants’ violation of Title 47 U.S.C.
Section 605, and pursuant to said Section 605, Plaintiff Innovative Sports Management, Inc., d/b/a
Integrated Sports Media, is entitled to the following from each Defendant:
(a) Statutory damages for each willful violation in an amount to
$100,000.00 pursuant to Title 47 U.S.C. 605(e)(3)(C)(ii); and

(b) The recovery of full costs, including reasonable attorneys’ fees,
pursuant to Title 47 U.S.C. Section 605(e)(3)(B)(iii).

 
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WHEREFORE, Plaintiff prays for judgment as set forth below.
COUNT II
(Violation of Title 47 U.S.C. Section 553)

25, Plaintiff hereby incorporates by reference all of the allegations contained in paragraphs |-
24, inclusive, as though set forth herein at length.

26. The unauthorized interceptions, reception, publication, divulgence, display, and/or
exhibition of the Program by the above named Defendants was prohibited by Title 47 U.S.C.
Section 553, ef seq.

pas By reason of the aforesaid mentioned conduct, the aforementioned Defendants, and each of
them, violated Title 47 U.S.C. Section 553, et seq.

28. By reason of the Defendants’ violation of Title 47 U.S.C. Section 553, et seq., Plaintiff
Innovative Sports Management, Inc., d/b/a Integrated Sports Media, has the private right of action
pursuant to Title 47 U.S.C. Section 553.

29. As the result of the aforementioned Defendants’ violation of Title 47 U.S.C. Section 553,
Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, is entitled to the

following from each Defendant:

(a) Statutory damages for each violation in an amount to
$10,000.00 pursuant to Title 47 U.S.C. § 553(c)(3)(A)(ii); and

(b) Statutory damages for each willful violation in an amount to
$50,000.00 pursuant to Title 47 U.S.C. § 553(c)(3)(B); and

(c) The recovery of full costs pursuant to Title 47 U.S.C. Section 553
(c)(2)(C); and

(d) In the discretion of this Honorable Court, reasonable
attorneys’ fees, pursuant to Title 47 U.S.C. Section 553 (c)(2)(C).

 

 

 
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WHEREFORE, Plaintiff prays for judgment as set forth below.

COUNT It

(Conversion)

30. Plaintiff hereby incorporates by reference all of the allegations contained in
paragraphs 1-29, inclusive, as though set forth herein at length.

31. By their aforesaid acts of interception, reception, publication, divulgence, display, and/or
exhibition of the Program at his commercial establishment at the above-captioned address, the
aforementioned Defendants, and each of them, tortuously obtained possession of the Program and

wrongfully converted same for his own use and benefit.

32. The aforesaid acts of the Defendants were willful, malicious, egregious, and intentionally
designed to harm Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, by
depriving Plaintiff of the commercial license fee to which Plaintiff was rightfully entitled to
receive from them, and in doing so, the Defendants subjected the Plaintiff to severe economic

distress and great financial loss.

35, Accordingly, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports
Media, is entitled to both compensatory, as well as punitive and exemplary damages, from
aforementioned Defendants as the result of the Defendants’ egregious conduct, theft, and

conversion of the Program and deliberate injury to the Plaintiff.

COUNT IV
(Violation of California Business and Professions Code Section 17200, et seq.)

34. Plaintiff hereby incorporates by reference all of the allegations contained in

Paragraphs 1-33, inclusive, as set forth herein at length.

 

 

 
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35. By contract, Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports
Media, was granted exclusive domestic commercial exhibition closed-circuit rights to the
Program.

36. Plaintiff did not authorize transmission, interception, reception, divulgence,

exhibition, or display of the Program to the general public, persons at large, or to the

commercial establishment operated by the foregoing Defendants, or any of them.

37. With full knowledge that the Program was not to be intercepted, received,

published, divulged, displayed, and/or exhibited by commercial entities unauthorized to do so,
each and every one of the above named Defendants either through direct action or through actions
of employees or agents directly imputable to Defendants by virtue of their respective positions and
authority did unlawfully intercept, receive, publish, divulge, display, and/or exhibit the Program at
the real time transmission of the Program’s broadcast at the commercial establishment, as more

particularly indicated and identified above.

38. Plaintiff is informed and believes and alleges thereon that the Defendants

and/or their agents, servants, workmen, or employees performed the aforementioned acts
knowingly, willfully and to confer a direct or indirect commercial advantage and/or private
financial gain to the Defendants, to the detriment and injury of Plaintiff and its business enterprise
as a commercial distributor and closed-circuit licensor of Sports and entertainment television

programming.

39. The Defendants’ unauthorized interception, publication, divulgence and/or
exhibition was done by the Defendants wantonly, recklessly, and without regard whatsoever for
the intellectual property rights of the Plaintiff.

40. The aforementioned unlawful acts of each of the Defendants constituted unlawful, untrue,
fraudulent, predatory, unfair, and deceptive trade practices, and by reason of the aforementioned
conduct, the Defendants, and each of them, violated California and Professions Code Section
17200, et seq.

4], As a proximate result of the aforementioned acts attributable to the Defendants, Plaintiff

has been permanently deprived of the patronage of current, previous and potential customers of the

 

 

 
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' sports and entertainment programming it licenses commercially to the hospitality industry, all to its

severe financial injury and loss in a sum to be determined at trial.

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3 42. By reason of the Defendants’ violation of California Business and Professions Code Section
4 1! 17200, et seq., Plaintiff Innovative Sports Management, Inc., d/b/a Integrated Sports Media, is
5 || entitled to restitution for its injuries, the disgorgement and turn-over of the Defendants’ ill-gotten
6 || gains, as well as injunctive and declaratory relief, from each of the aforementioned Defendants as
7 || may be made more appropriately determined at trial.

8 |} 43. Plaintiff is entitled to its attorneys’ fees from the Defendants for enforcing California
9 || Business and Professions Code Section 17200 as it meets the standards of a private attorney
10 || general as specifically and statutorily defined under California Civil Procedure Section 1021.5.

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WHEREFORE, Plaintiff prays for judgment as set forth below.

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My As to the First Count:
14 1. For statutory damages in the amount of $1 10,000.00 against the Defendants, and
15 each of them;
16 2. For reasonable attorneys’ fees as mandated by statute;
17 3. Forall costs of suit, including but not limited to filing fees, service of
ig process fees, investigative costs; and
é 4. For such other and further relief as this Honorable Court may deem just and proper;
20 As to the Second Count:
21 1. For statutory damages in the amount of $60,000.00 against the Defendants, and
22 each of them;
23 2. For reasonable attorneys’ fees as may be awarded in the Court’s
74 discretion pursuant to statute;
3. For all costs of suit, including but not limited to filing fees, service
“ of process fees, investigative costs; and
20 4. For such other and further relief as this Honorable Court may deem just and proper.
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As to the Third Count:

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For compensatory damages in an amount according to proof against the
Defendants, and each of them;

For exemplary damages against the Defendants, and each of them:

For punitive damages against the Defendants, and each of them;

For reasonable attorneys’ fees as may be awarded in the Court’s discretion pursuant
to statute;

For all costs of suit, including but not limited to filing fees, service of process fee,
investigative costs;

For such other and further relief as this Honorable Court may deem just and proper.

As to the Fourth Count:

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Dated: A 7G.
By: Tho

For restitution to the Plaintiff in an amount according to and from the Defendants,
for their ill-gotten gains;

For declaratory relief:

For prohibitory and mandatory injunctive relief:

For reasonable attorneys’ fees as may be awarded in the Court’s discretion
pursuant to statute;

For all costs of suit, including but not limited to filing fees, service of process fees,
investigative costs;

For such other and further relief as this Honorable Court may deem just and proper.

Respectfully submitted

  
  

 

THOMAS P. RILEY, P.C.

S P. Riley

Attorneys for Plaintiff

Innovative Sports Management, Inc., d/b/a Integrated
Sports Media

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